  Case 19-50152       Doc 10    Filed 10/04/19 Entered 10/04/19 09:28:07
                                  Document     Page 1 of 1                        EOD Desc Main

                                                                                  10/04/2019
                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

IN RE: MIKE and SANDRA AHLERS                                       CASE NO. 19-50152

          DEBTORS                                                   CHAPTER 13


 ORDER ON DEBTORS’ MOTION TO EXTEND TIME FOR FILING DOCUMENTS,
           STATEMENTS, SCHEDULES, AND CHAPTER 13 PLAN


       On this day came on the Motion to Extend Time for filing documents, statements,

schedules, and Chap 13 Plan.

       The Court finds that good cause exists for the entry of the following order.

       IT IS THEREFORE ORDERED that the Motion, filed by the Debtors, by and through

their attorney of record, is granted and the time for filing all documents, statements, schedules,

and Chap 13 Plan is extended to Oct. 15, 2019.

       SO ORDERED.




                                               Signed on 10/4/2019

                                                                                 MD
                                     HONORABLE BRENDA T. RHOADES,
                                     UNITED STATES BANKRUPTCY JUDGE
